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 Debtor       MediaMath, Inc.                                                             Case number (if known)
             Name




 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
                                District of Delaware
                                           (State)                                                                                     ☐Check if this is an
 Case number (if known):                                         Chapter      11                                                          amended filing



 Official Form 201
 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                              06/22

       If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name
       and the case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-
       Individuals, is available.



 1.   Debtor’s Name                     MediaMath, Inc.


                                        N/A
 2. All other names debtor used
    in the last 8 years

      Include any assumed names,
      trade names, and doing
      business as names

 3. Debtor’s federal Employer
    Identification Number (EIN)         XX-XXXXXXX                                         _____________________________________________________


 4. Debtor’s address                    Principal place of business                                     Mailing address, if different from principal place
                                                                                                        of business
                                        4 World Trade Center
                                        Number                Street                                    Number         Street

                                        45 Floor
                                             th




                                        New York                           New York 10007
                                        City                                 State     Zip Code         City                         State     Zip Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                        New York
                                        County                                                          Number         Street




                                                                                                        City                         State     Zip Code




 5. Debtor’s website (URL)              https://www.mediamath.com

 6.   Type of debtor                       ☒Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                           ☐Partnership (excluding LLP)

                                           ☐Other. Specify:



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 Debtor        MediaMath, Inc.                                                     Case number (if known)
             Name



                                            A. Check One:
 7.   Describe debtor’s business
                                             ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                             ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                             ☐ Railroad (as defined in 11 U.S.C. § 101(44))

                                             ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                             ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                             ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                             ☒ None of the above

                                            B. Check all that apply:
                                             ☐ Tax-exempt entity (as described in 26 U.S.C. § 501)

                                             ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                               § 80a-3)
                                             ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                            C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                               5418 (Advertising, Public Relations, and Related Services)

 8. Under which chapter of the              Check One:
    Bankruptcy Code is the                  ☐ Chapter 7
    debtor filing?
                                            ☐ Chapter 9

                                            ☒ Chapter 11. Check all that apply:
 A debtor who is a “small business
 debtor” must check the first sub-                    ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
 box. A debtor as defined in §                          noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
 1182(1) who elects to proceed                          $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
 under subchapter V of chapter 11                       operations, cash-flow statement, and federal income tax return or if any of these documents do
 (whether or not the debtor is a “small                 not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
 business debtor”) must check the
 second sub-box.                                        ☐ The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                          debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses
                                                          to proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most
                                                          recent balance sheet, statement of operations, cash-flow statement, and federal income tax
                                                          return, or if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                       ☐ A plan is being filed with this petition.

                                                       ☐ Acceptances of the plan were solicited prepetition from one or more classes of
                                                         creditors, in accordance with 11 U.S.C. § 1126(b).
                                                       ☐ The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities
                                                         and Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934.
                                                         File the Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under
                                                         Chapter 11 (Official Form 201A) with this form.
                                                       ☐ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.

                                             ☐ Chapter 12
 9. Were prior bankruptcy cases           ☒ No
    filed by or against the debtor        ☐ Yes    District                         When                        Case number
    within the last 8 years?                                                                  MM/DD/YYYY
      If more than 2 cases, attach a               District                         When                        Case number
      separate list.                                                                          MM/DD/YYYY

 10. Are any bankruptcy cases             ☐ No
     pending or being filed by a          ☒ Yes                                                                 Relationship     Affiliate
                                                   Debtor      See Attached Rider 1
     business partner or an
     affiliate of the debtor?                      District
                                                               District of Delaware                             When:            06/30/2023
                                                   Case number, if known _______________                                         MM / DD / YYYY
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 Debtor       MediaMath, Inc.                                                       Case number (if known)
             Name


    List all cases. If more than 1,
    attach a separate list.

 11. Why is the case filed in this     Check all that apply:
     district?
                                            ☒ Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                            immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                            district.
                                            ☒ A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


 12. Does the debtor own or have        ☒ No
     possession of any real             ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
     property or personal
     property that needs                         Why does the property need immediate attention? (Check all that apply.)
     immediate attention?
                                                 ☐    It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                      safety.
                                                      What is the hazard?

                                                 ☐    It needs to be physically secured or protected from the weather.

                                                 ☐    It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                      attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                      assets or other options).
                                                 ☐    Other


                                                 Where is the property?
                                                                                     Number          Street



                                                                                     City                                  State       Zip Code



                                                 Is the property insured?
                                                   ☐ No

                                                   ☐ Yes. Insurance agency

                                                            Contact name
                                                            Phone




                       Statistical and administrative information

 13. Debtor's estimation of           Check one:
     available funds
                                       ☒ Funds will be available for distribution to unsecured creditors.
                                       ☐ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

 14. Estimated number of                    ☐1-49                            ☐1,000-5,000                            ☐25,001-50,000
     creditors*                             ☐50-99                           ☐5,001-10,000                           ☐50,001-100,000
                                            ☐100-199                         ☐10,001-25,000                          ☐More than 100,000
                                            ☒200-999
 *Consolidated for all
 Debtors.

 15. Estimated assets*                      ☐$0-$50,000                      ☐$1,000,001-$10 million                 ☐$500,000,001-$1 billion
                                            ☐$50,001-$100,000                ☐$10,000,001-$50 million                ☐$1,000,000,001-$10 billion
                                            ☐$100,001-$500,000               ☐$50,000,001-$100 million               ☐$10,000,000,001-$50 billion
 *Consolidated for all                      ☐$500,001-$1 million             ☒$100,000,001-$500 million              ☐More than $50 billion
 Debtors.


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 Debtor       MediaMath, Inc.                                                          Case number (if known)
             Name




 16. Estimated liabilities*                   ☐$0-$50,000                      ☐$1,000,001-$10 million                   ☐$500,000,001-$1 billion
                                              ☐$50,001-$100,000                ☐$10,000,001-$50 million                  ☐$1,000,000,001-$10 billion
 *Consolidated for all
 Debtors.                                     ☐$100,001-$500,000               ☐$50,000,001-$100 million                 ☐$10,000,000,001-$50 billion
                                              ☐$500,001-$1 million             ☒$100,000,001-$500 million                ☐More than $50 billion

                    Request for Relief, Declaration, and Signatures

 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

 17. Declaration and signature of      •       The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
     authorized representative of              petition.
     debtor
                                       •       I have been authorized to file this petition on behalf of the debtor.
                                       •       I have examined the information in this petition and have a reasonable belief that the information is true
                                               and correct.

                                           I declare under penalty of perjury that the foregoing is true and correct.

                                       Executed on           06/30/2023
                                                              MM/ DD / YYYY


                                               /s/ Neil Nguyen                                             Neil Nguyen
                                               Signature of authorized representative of debtor              Printed name

                                               Title   Chief Executive Officer




 18. Signature of attorney                     /s/ Kara Hammond Coyle                                      Date         06/30/2023
                                               Signature of attorney for debtor                                         MM/DD/YYYY



                                               Kara Hammond Coyle

                                               Young Conaway Stargatt & Taylor, LLP
                                               Firm name
                                               1000 North King Street
                                               Number                 Street
                                               Wilmington                                                          DE                 19801
                                               City                                                                State                ZIP Code
                                               (302) 571-6600                                                      kcoyle@ycst.com
                                               Contact phone                                                           Email address
                                               DE No. 4410                                          DE
                                               Bar number                                          State




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                                                 Rider 1
                  Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

          On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a petition in
   the United States Bankruptcy Court for the District of Delaware for relief under chapter 11 of title 11 of the
   United States Code. The Debtors have moved for joint administration of these cases under the case number
   assigned to the chapter 11 case of MediaMath Holdings, Inc.


                                                   COMPANY

                              MediaMath Holdings, Inc.
                              MediaMath, Inc.
                              MediaMath Ventures, LLC
                              Adroit DS, LLC
                              Searchlight MM Topco, L.P.
                              Searchlight MM Topco GP, LLC
                              Searchlight MM Holdings, LLC




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                             UNANIMOUS WRITTEN CONSENT
                                      OF THE
                                BOARD OF DIRECTORS
                                        OF
                                  MEDIAMATH, INC.

                                           June 30, 2023

               The undersigned, being all of the directors (the “Board”) of MediaMath, Inc., a
Delaware corporation (the “Company”), hereby vote for, adopt, approve and consent to the
following resolutions by written consent without a meeting in accordance with Section 141(f) of
the Delaware General Corporation Law and Article II Section 6 of the Company’s Bylaws:

                  WHEREAS, the Board has reviewed and considered the financial and operational
condition of the Company and its wholly-owned subsidiaries, Adriot DS, LLC, a Delaware limited
liability company (“Adriot”), and MediaMath Ventures, LLC, a Delaware limited liability
company (“Ventures”, and together with the Company and Adriot, collectively, the “Debtors”),
and the Debtors’ businesses on the date hereof, the assets of the Debtors, the current and long-term
liabilities of the Debtors, and the recommendations of the Debtors’ legal and restructuring advisors
as to the relative risks and benefits of pursuing a bankruptcy proceeding for the Debtors under the
provisions of Title 11 of the United States Code (the “Bankruptcy Code”); and

                 WHEREAS, the Board, on behalf of the Debtors, has determined that it is in the
best interest of the Debtors and the Debtors’ stakeholders, creditors, and other interested parties to
commence a case under the provisions of chapter 11 of the Bankruptcy Code.

               NOW, THEREFORE, BE IT:

Commencement and Prosecution of Bankruptcy Case

               RESOLVED, that the Board hereby approves the filing of a voluntary petition
under the provisions of chapter 11 of the Bankruptcy Code (the “Petition”), by or on behalf of the
Company, in the United States Bankruptcy Court for the District of Delaware (the “Bankruptcy
Court”) commencing a case (the “Bankruptcy Case”) under the provisions of chapter 11 of the
Bankruptcy Code; and it is further

                 RESOLVED, that the form, terms and provisions of, the execution, delivery and
filing of, and the performance of the transactions and obligations contemplated by the Petition be,
and they hereby are, authorized, approved and adopted in all respects and that the persons listed
on Schedule 1 attached hereto (the “Authorized Persons”) be, and hereby are, authorized, directed,
and empowered on behalf of and in the name of the Company to (i) to execute and verify the
Petition and all documents ancillary thereto, and to cause the Petition to be filed with the
Bankruptcy Court, such Petition to be filed at such time as an Authorized Person shall determine
and to be in the form approved by the Authorized Person, with the execution thereof by any such
Authorized Person being conclusive evidence of the approval thereof by the Authorized Persons;
(ii) to make or cause to be made prior to the execution thereof any modifications to the Petition or
such ancillary documents that, in the judgment of the Authorized Persons, may be necessary,
appropriate, or desirable, with the execution thereof by any such Authorized Person being
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conclusive evidence of the approval thereof by the Authorized Persons, and (iii) to execute, verify,
and file or cause to be filed all other petitions, schedules, lists, motions, applications, declarations,
affidavits, and other papers or documents that, in the judgment of the Authorized Persons, may be
necessary, appropriate, or desirable in connection with the foregoing; and it is further

Retention of Professionals

                RESOLVED, that the law firm of Young Conaway Stargatt & Taylor, LLP
(“Young Conaway”), be and hereby is, authorized, directed, and empowered to represent the
Company as general bankruptcy counsel to represent and assist the Company in carrying out the
Company’s duties under the Bankruptcy Code, and to take any and all actions to advance the
Company’s rights, including the preparation of pleadings and filings in the Bankruptcy Case; and
in connection therewith, the Authorized Persons be, and each of them, acting alone or in any
combination, with power of delegation, hereby is, authorized, directed and empowered, on behalf
of and in the name of the Company to execute appropriate retention agreements, pay appropriate
retainers prior to and immediately upon the filing of the Bankruptcy Case, and to cause to be filed
an appropriate application for authority to retain the services of Young Conaway; and it is further

                RESOLVED, that FTI Consulting, Inc. (“FTI”), be and hereby is, authorized,
directed, and empowered to represent and assist the Company as the Company’s financial advisor
and in carrying out the Company’s duties under the Bankruptcy Code, and to take any and all
actions to advance the Company’s rights and obligations; and in connection therewith, the
Authorized Persons be, and each of them, acting alone or in any combination, with power of
delegation, are hereby is authorized, directed, and empowered to execute appropriate retention
agreements, pay appropriate retainers, and to cause to be filed an appropriate application to retain
the services of FTI in the Bankruptcy Case; and it is further

                RESOLVED, that Epiq Corporate Restructuring, LLC (“Epiq”), be and hereby is,
authorized and empowered to represent and assist the Company as claims and noticing agent and
administrative advisor and in carrying out its duties under the Bankruptcy Code, and to take any
and all actions to advance the Company’s rights and obligations; and in connection therewith, the
Authorized Persons, with power of delegation, is hereby authorized and directed to execute
appropriate retention agreements, pay appropriate retainers, and to cause to be filed an appropriate
application for authority to retain the services of Epiq in the Bankruptcy Case; and it is further

               RESOLVED, that the Authorized Persons be, and each of them, acting alone or in
any combination, hereby is, authorized, directed, and empowered to employ any other
professionals to assist the Company in carrying out the Company’s duties under the Bankruptcy
Code, and to take any and all actions to advance the Company’s rights and obligations; and in
connection therewith, the Authorized Persons be, and each of them, acting alone or in any
combination, with power of delegation hereby is, with power of delegation, hereby is authorized
and directed to execute appropriate retention agreements, pay appropriate retainers, and to cause
to be filed appropriate applications for authority to retain the services of any other professionals
as necessary; and it is further

             RESOLVED, that the Authorized Persons be, and each of them, acting alone or in
any combination, with power of delegation, hereby is authorized, empowered, and directed to
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execute and file all petitions, schedules, motions, lists, applications, pleadings, and other papers
and, in connection therewith, to employ and retain all assistance by legal counsel and other
professionals and to take and perform any and all further acts and deeds that the Authorized
Persons deem necessary, proper or desirable in connection with the Bankruptcy Case, with a view
to the successful prosecution of such case; and it is further

               RESOLVED, that each of the aforementioned retained advisors of the Company is
hereby authorized to take any and all actions necessary or desirable to advance the Company’s
rights and obligations and facilitate the commencement of the Bankruptcy Case; and it is further

Cash Collateral

                 RESOLVED, that, in connection with the commencement of the Company’s
Bankruptcy Case, the Authorized Persons are authorized and directed, to the extent necessary, on
behalf of the Company, as debtor and debtor-in-possession, to negotiate, obtain, execute, deliver,
and guarantee the use of cash collateral according to the terms negotiated, or to be negotiated, by,
or on behalf of, the Company or otherwise approved by the Bankruptcy Court; and the Company
is hereby authorized and directed to take all actions necessary in connection therewith, including,
without limitation (i) the use of cash collateral in such amounts and on such terms as the
Authorized Persons deems necessary or advisable (collectively, the “Cash Collateral”), (ii) the
execution and delivery of any documents to evidence the permitted use of Cash Collateral, (iii) the
incurrence and payment of fees, (iv) the execution and delivery of real property and personal
property (including intellectual property) security agreements (and amendments, supplements, and
modifications thereto, as appropriate), (v) the granting of liens on and security interests in any and
all assets of the Company, (vi) the authorization of filing and recording, as applicable, of financing
statements, agreements, mortgages, or any other documents evidencing and perfecting such liens
or security interests and amendments to such financing statements, agreements, mortgages or other
documents, (vii) the acknowledgement of debt and liens of existing loans, (viii) payment of interest
to the Company’s existing lenders, and (ix) the execution and delivery of deposit, securities and
other account control agreements (and amendments, supplements and other modifications thereto,
as appropriate), and the Authorized Persons are hereby authorized and directed to execute any
appropriate agreements and related ancillary documents on behalf of the Company in connection
with the foregoing; and it is further

General

                 RESOLVED, that the Authorized Persons be, and hereby are, authorized, directed,
and empowered, on behalf of and in the name of the Company, to perform the obligations of such
Company under the Bankruptcy Code, with all such actions to be performed in such manner, and
all such certificates, instruments, guaranties, notices, and documents to be executed and delivered
in such form, as the Authorized Persons performing or executing the same shall approve, and the
performance or execution thereof by the Authorized Persons shall be conclusive evidence of the
approval thereof by the Authorized Persons and by the Company; and it is further

               RESOLVED, that the Authorized Persons be, and hereby are, authorized, directed,
and empowered, in the name of and on behalf of the Company, to cause the Company to enter into,
execute, deliver, certify, file, record and perform under such agreements, instruments, motions,
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affidavits, applications for approvals or rulings of governmental or regulatory authorities,
certificates or other documents, to pay all expenses, including filing fees, and to take such other
actions as in the judgment of the Authorized Persons, shall be necessary, proper, and desirable to
prosecute a successful completion of the Company’s Bankruptcy Case and to effectuate the
restructuring or liquidation of the Company’s debts, other obligations, organizational form and
structure and ownership of the Company, all consistent with the foregoing resolutions and to carry
out and put into effect the purposes of which the foregoing resolutions, and the transactions
contemplated by these resolutions, her authority thereunto to be evidenced by the taking of such
actions; and it is further

                 RESOLVED, that the Authorized Persons be, and hereby are, authorized, directed,
and empowered, on behalf of and in the name of the Company, to take such actions and execute
and deliver such documents as may be required or as the Authorized Persons may determine to be
necessary, appropriate, or desirable to carry out the intent and purpose of the foregoing resolutions
or to obtain the relief sought thereby, including, without limitation, the execution and delivery of
any consents, resolutions, petitions, schedules, lists, declarations, affidavits, and other papers or
documents, with all such actions to be taken in such manner, and all such petitions, schedules,
lists, declarations, affidavits, and other papers or documents to be executed and delivered in such
form as the Authorized Persons shall approve, the taking or execution thereof by the Authorized
Persons being conclusive evidence of the approval thereof by the Authorized Persons and the
Company; and it is further

                 RESOLVED, that all of the acts and transactions relating to matters contemplated
by the foregoing resolutions, which acts and transactions would have been authorized and
approved by the foregoing resolutions except that such acts and transactions were taken prior to
the adoption of these resolutions, be, and they hereby are, in all respects confirmed, approved, and
ratified; and it is further

               RESOLVED, that that the Company, as sole member of Adriot, hereby authorizes
and directs the execution of the Written Consent of the Manager Member of Adriot DS, LLC,
substantially in the form attached hereto as Exhibit A (the “Adriot Consent”), and that the
Authorized Persons be, and each of them acting alone or in any combination is, hereby authorized,
directed and empowered in the name of the Company to execute and deliver to Adriot the Adriot
Consent and take any actions or execute and delivery any documents in furtherance of the Adriot
Consent or matters approved therein; and it is further

               RESOLVED, that that the Company, as sole member of Ventures, hereby
authorizes and directs the execution of the Written Consent of the Manager Member of MediaMath
Ventures, LLC, substantially in the form attached hereto as Exhibit B (the “Ventures Consent”),
and that the Authorized Persons be, and each of them acting alone or in any combination is, hereby
authorized, directed and empowered in the name of the Company to execute and deliver to
Ventures the Ventures Consent and take any actions or execute and delivery any documents in
furtherance of the Ventures Consent or matters approved therein; and it is further

                RESOLVED, that facsimile, photostatic, or other electronic copies of signatures to
this consent shall be deemed to be originals and may be relied on to the same extent as the originals.
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                IN WITNESS WHEREOF, the Board has executed this written consent effective
as of the date first written above.


                                             BOARD:


                                             /s/ Grant Lyon_                      (SEAL)
                                             Grant Lyon


                                             /s/ Ingrid Hackett                   (SEAL)
                                             Ingrid Hackett
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                                SCHEDULE 1

                              Authorized Persons

•   Neil Nguyen

•   Ingrid Hackett
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                      EXHIBIT A

                     Adriot Consent
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                                           WRITTEN CONSENT
                                      OF THE MANAGER MEMBER OF
                                                 OF
                                            ADROIT DS, LLC

                                                   June 30, 2023

                        The undersigned, being the sole and managing member (the “Manager Member”)
         of Adriot DS, LLC, a Delaware limited liability company (the “Company”), hereby takes the
         following actions and adopts the following resolutions by written consent in lieu of a meeting
         pursuant to the applicable provisions of the Delaware Limited Liability Company Act and the
         Adriot DS, LLC Amended and Restated Operating Agreement, dated as of March 25, 2023
         (the “LLC Agreement”):

                        WHEREAS, pursuant to Section 3.1 of the LLC Agreement and Section 18-402 of
         the Delaware Limited Liability Company Act, the Manager Member shall have the sole and
         exclusive right to manage, control, and conduct the affairs of the Company and to do any and all
         acts on behalf of the Company permitted by applicable law;

                        WHEREAS, the Manager Member has reviewed and considered the financial and
         operational condition of the Company, the Company’s business on the date hereof, including the
         assets of the Company, the current and long-term liabilities of the Company, and the
         recommendations of the Company’s legal and other advisors as to the relative risks and benefits
         of pursuing a bankruptcy proceeding for the Company under the provisions of title 11 of the United
         States Code (the “Bankruptcy Code”); and

                         WHEREAS, the Manager Member, on behalf of the Company, has determined that
         it is in the best interest of the Company and the Company’s stakeholders, creditors, and other
         interested parties to commence a case under the provisions of chapter 11 of the Bankruptcy Code.

                          NOW, THEREFORE, BE IT:

         Commencement and Prosecution of Bankruptcy Case

                         RESOLVED, that the Manager Member hereby approves the filing of a voluntary
         petition under the provisions of chapter 11 of the Bankruptcy Code (the “Petition”), by or on behalf
         of the Company, in the United States Bankruptcy Court for the District of Delaware (the
         “Bankruptcy Court”) commencing a case (the “Bankruptcy Case”) under the provisions of chapter
         11 of the Bankruptcy Code; and it is further

                          RESOLVED, that the form, terms and provisions of, the execution, delivery and
         filing of, and the performance of the transactions and obligations contemplated by the Petition be,
         and they hereby are, authorized, approved and adopted in all respects and that the persons listed
         on Schedule 1 attached hereto (the “Authorized Persons”) be, and hereby are, authorized, directed,
         and empowered on behalf of and in the name of the Company to (i) to execute and verify the
         Petition and all documents ancillary thereto, and to cause the Petition to be filed with the
         Bankruptcy Court, such Petition to be filed at such time as an Authorized Person shall determine

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         and to be in the form approved by the Authorized Person, with the execution thereof by any such
         Authorized Person being conclusive evidence of the approval thereof by the Authorized Persons;
         (ii) to make or cause to be made prior to the execution thereof any modifications to the Petition or
         such ancillary documents that, in the judgment of the Authorized Persons, may be necessary,
         appropriate, or desirable, with the execution thereof by any such Authorized Person being
         conclusive evidence of the approval thereof by the Authorized Persons, and (iii) to execute, verify,
         and file or cause to be filed all other petitions, schedules, lists, motions, applications, declarations,
         affidavits, and other papers or documents that, in the judgment of the Authorized Persons, may be
         necessary, appropriate, or desirable in connection with the foregoing; and it is further

         Retention of Professionals

                          RESOLVED, that the law firm of Young Conaway Stargatt & Taylor, LLP
         (“Young Conaway”), be and hereby is, authorized, directed, and empowered to represent the
         Company as general bankruptcy counsel to represent and assist the Company in carrying out the
         Company’s duties under the Bankruptcy Code, and to take any and all actions to advance the
         Company’s rights, including the preparation of pleadings and filings in the Bankruptcy Case; and
         in connection therewith, the Authorized Persons be, and each of them, acting alone or in any
         combination, with power of delegation, hereby is, authorized, directed and empowered, on behalf
         of and in the name of the Company to execute appropriate retention agreements, pay appropriate
         retainers prior to and immediately upon the filing of the Bankruptcy Case, and to cause to be filed
         an appropriate application for authority to retain the services of Young Conaway; and it is further

                         RESOLVED, that FTI Consulting, Inc. (“FTI”), be and hereby is, authorized,
         directed, and empowered to represent and assist the Company as the Company’s financial advisor
         and in carrying out the Company’s duties under the Bankruptcy Code, and to take any and all
         actions to advance the Company’s rights and obligations; and in connection therewith, the
         Authorized Persons be, and each of them, acting alone or in any combination, with power of
         delegation, are hereby is authorized, directed, and empowered to execute appropriate retention
         agreements, pay appropriate retainers, and to cause to be filed an appropriate application to retain
         the services of FTI in the Bankruptcy Case; and it is further

                         RESOLVED, that Epiq Corporate Restructuring, LLC (“Epiq”), be and hereby is,
         authorized and empowered to represent and assist the Company as claims and noticing agent and
         administrative advisor and in carrying out its duties under the Bankruptcy Code, and to take any
         and all actions to advance the Company’s rights and obligations; and in connection therewith, the
         Authorized Persons, with power of delegation, is hereby authorized and directed to execute
         appropriate retention agreements, pay appropriate retainers, and to cause to be filed an appropriate
         application for authority to retain the services of Epiq in the Bankruptcy Case; and it is further

                        RESOLVED, that the Authorized Persons be, and each of them, acting alone or in
         any combination, hereby is, authorized, directed, and empowered to employ any other
         professionals to assist the Company in carrying out the Company’s duties under the Bankruptcy
         Code, and to take any and all actions to advance the Company’s rights and obligations; and in
         connection therewith, the Authorized Persons be, and each of them, acting alone or in any
         combination, with power of delegation hereby is, with power of delegation, hereby is authorized
         and directed to execute appropriate retention agreements, pay appropriate retainers, and to cause
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         to be filed appropriate applications for authority to retain the services of any other professionals
         as necessary; and it is further

                        RESOLVED, that the Authorized Persons be, and each of them, acting alone or in
         any combination, with power of delegation, hereby is authorized, empowered, and directed to
         execute and file all petitions, schedules, motions, lists, applications, pleadings, and other papers
         and, in connection therewith, to employ and retain all assistance by legal counsel and other
         professionals and to take and perform any and all further acts and deeds that the Authorized
         Persons deem necessary, proper or desirable in connection with the Bankruptcy Case, with a view
         to the successful prosecution of such case; and it is further

                        RESOLVED, that each of the aforementioned retained advisors of the Company is
         hereby authorized to take any and all actions necessary or desirable to advance the Company’s
         rights and obligations and facilitate the commencement of the Bankruptcy Case; and it is further

         Cash Collateral

                          RESOLVED, that, in connection with the commencement of the Company’s
         Bankruptcy Case, the Authorized Persons are authorized and directed, to the extent necessary, on
         behalf of the Company, as debtor and debtor-in-possession, to negotiate, obtain, execute, deliver,
         and guarantee the use of cash collateral according to the terms negotiated, or to be negotiated, by,
         or on behalf of, the Company or otherwise approved by the Bankruptcy Court; and the Company
         is hereby authorized and directed to take all actions necessary in connection therewith, including,
         without limitation (i) the use of cash collateral in such amounts and on such terms as the
         Authorized Persons deems necessary or advisable (collectively, the “Cash Collateral”), (ii) the
         execution and delivery of any documents to evidence the permitted use of Cash Collateral, (iii) the
         incurrence and payment of fees, (iv) the execution and delivery of real property and personal
         property (including intellectual property) security agreements (and amendments, supplements, and
         modifications thereto, as appropriate), (v) the granting of liens on and security interests in any and
         all assets of the Company, (vi) the authorization of filing and recording, as applicable, of financing
         statements, agreements, mortgages, or any other documents evidencing and perfecting such liens
         or security interests and amendments to such financing statements, agreements, mortgages or other
         documents, (vii) the acknowledgement of debt and liens of existing loans, (viii) payment of interest
         to the Company’s existing lenders, and (ix) the execution and delivery of deposit, securities and
         other account control agreements (and amendments, supplements and other modifications thereto,
         as appropriate), and the Authorized Persons are hereby authorized and directed to execute any
         appropriate agreements and related ancillary documents on behalf of the Company in connection
         with the foregoing; and it is further

         General

                          RESOLVED, that the Authorized Persons be, and hereby are, authorized, directed,
         and empowered, on behalf of and in the name of the Company, to perform the obligations of such
         Company under the Bankruptcy Code, with all such actions to be performed in such manner, and
         all such certificates, instruments, guaranties, notices, and documents to be executed and delivered
         in such form, as the Authorized Persons performing or executing the same shall approve, and the


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         performance or execution thereof by the Authorized Persons shall be conclusive evidence of the
         approval thereof by the Authorized Persons and by the Company; and it is further

                         RESOLVED, that the Authorized Persons be, and hereby are, authorized, directed,
         and empowered, in the name of and on behalf of the Company, to cause the Company to enter into,
         execute, deliver, certify, file, record and perform under such agreements, instruments, motions,
         affidavits, applications for approvals or rulings of governmental or regulatory authorities,
         certificates or other documents, to pay all expenses, including filing fees, and to take such other
         actions as in the judgment of the Authorized Persons, shall be necessary, proper, and desirable to
         prosecute a successful completion of the Company’s Bankruptcy Case and to effectuate the
         restructuring or liquidation of the Company’s debts, other obligations, organizational form and
         structure and ownership of the Company, all consistent with the foregoing resolutions and to carry
         out and put into effect the purposes of which the foregoing resolutions, and the transactions
         contemplated by these resolutions, her authority thereunto to be evidenced by the taking of such
         actions; and it is further

                          RESOLVED, that the Authorized Persons be, and hereby are, authorized, directed,
         and empowered, on behalf of and in the name of the Company, to take such actions and execute
         and deliver such documents as may be required or as the Authorized Persons may determine to be
         necessary, appropriate, or desirable to carry out the intent and purpose of the foregoing resolutions
         or to obtain the relief sought thereby, including, without limitation, the execution and delivery of
         any consents, resolutions, petitions, schedules, lists, declarations, affidavits, and other papers or
         documents, with all such actions to be taken in such manner, and all such petitions, schedules,
         lists, declarations, affidavits, and other papers or documents to be executed and delivered in such
         form as the Authorized Persons shall approve, the taking or execution thereof by the Authorized
         Persons being conclusive evidence of the approval thereof by the Authorized Persons and the
         Company; and it is further

                          RESOLVED, that all of the acts and transactions relating to matters contemplated
         by the foregoing resolutions, which acts and transactions would have been authorized and
         approved by the foregoing resolutions except that such acts and transactions were taken prior to
         the adoption of these resolutions, be, and they hereby are, in all respects confirmed, approved, and
         ratified; and it is further

                         RESOLVED, that facsimile, photostatic, or other electronic copies of signatures to
         this consent shall be deemed to be originals and may be relied on to the same extent as the originals.




                                    [Remainder of Page Intentionally Left Blank]




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                        IN WITNESS WHEREOF, the Manager Member has executed this written
         consent effective as of the date first written above.



                                                     MANAGER MEMBER

                                                     MEDIAMATH, INC.



                                                     /s/ Neil Nguyen                  (SEAL)
                                                     Name: Neil Nguyen
                                                     Title: Authorized Person




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                                              SCHEDULE 1

             •   Neil Nguyen

             •   Ingrid Hackett




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                      EXHIBIT B

                    Ventures Consent
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                                  WRITTEN CONSENT
                             OF THE MANAGER MEMBER OF
                                        OF
                              MEDIAMATH VENTURES, LLC

                                          June 30, 2023

               The undersigned, being the sole and managing member (the “Manager Member”)
of MediaMath Ventures, LLC, a Delaware limited liability company (the “Company”), hereby
takes the following actions and adopts the following resolutions by written consent in lieu of a
meeting pursuant to the applicable provisions of the Delaware Limited Liability Company Act and
the MediaMath Ventures, LLC Amended and Restated Operating Agreement, dated as of March
25, 2023 (the “LLC Agreement”):

               WHEREAS, pursuant to Section 3.1 of the LLC Agreement and Section 18-402 of
the Delaware Limited Liability Company Act, the Manager Member shall have the sole and
exclusive right to manage, control, and conduct the affairs of the Company and to do any and all
acts on behalf of the Company permitted by applicable law;

               WHEREAS, the Manager Member has reviewed and considered the financial and
operational condition of the Company, the Company’s business on the date hereof, including the
assets of the Company, the current and long-term liabilities of the Company, and the
recommendations of the Company’s legal and other advisors as to the relative risks and benefits
of pursuing a bankruptcy proceeding for the Company under the provisions of title 11 of the United
States Code (the “Bankruptcy Code”); and

                WHEREAS, the Manager Member, on behalf of the Company, has determined that
it is in the best interest of the Company and the Company’s stakeholders, creditors, and other
interested parties to commence a case under the provisions of chapter 11 of the Bankruptcy Code.

               NOW, THEREFORE, BE IT:

Commencement and Prosecution of Bankruptcy Case

                RESOLVED, that the Manager Member hereby approves the filing of a voluntary
petition under the provisions of chapter 11 of the Bankruptcy Code (the “Petition”), by or on behalf
of the Company, in the United States Bankruptcy Court for the District of Delaware (the
“Bankruptcy Court”) commencing a case (the “Bankruptcy Case”) under the provisions of chapter
11 of the Bankruptcy Code; and it is further

                 RESOLVED, that the form, terms and provisions of, the execution, delivery and
filing of, and the performance of the transactions and obligations contemplated by the Petition be,
and they hereby are, authorized, approved and adopted in all respects and that the persons listed
on Schedule 1 attached hereto (the “Authorized Persons”) be, and hereby are, authorized, directed,
and empowered on behalf of and in the name of the Company to (i) to execute and verify the
Petition and all documents ancillary thereto, and to cause the Petition to be filed with the
Bankruptcy Court, such Petition to be filed at such time as an Authorized Person shall determine
and to be in the form approved by the Authorized Person, with the execution thereof by any such
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Authorized Person being conclusive evidence of the approval thereof by the Authorized Persons;
(ii) to make or cause to be made prior to the execution thereof any modifications to the Petition or
such ancillary documents that, in the judgment of the Authorized Persons, may be necessary,
appropriate, or desirable, with the execution thereof by any such Authorized Person being
conclusive evidence of the approval thereof by the Authorized Persons, and (iii) to execute, verify,
and file or cause to be filed all other petitions, schedules, lists, motions, applications, declarations,
affidavits, and other papers or documents that, in the judgment of the Authorized Persons, may be
necessary, appropriate, or desirable in connection with the foregoing; and it is further

Retention of Professionals

                 RESOLVED, that the law firm of Young Conaway Stargatt & Taylor, LLP
(“Young Conaway”), be and hereby is, authorized, directed, and empowered to represent the
Company as general bankruptcy counsel to represent and assist the Company in carrying out the
Company’s duties under the Bankruptcy Code, and to take any and all actions to advance the
Company’s rights, including the preparation of pleadings and filings in the Bankruptcy Case; and
in connection therewith, the Authorized Persons be, and each of them, acting alone or in any
combination, with power of delegation, hereby is, authorized, directed and empowered, on behalf
of and in the name of the Company to execute appropriate retention agreements, pay appropriate
retainers prior to and immediately upon the filing of the Bankruptcy Case, and to cause to be filed
an appropriate application for authority to retain the services of Young Conaway; and it is further

                RESOLVED, that FTI Consulting, Inc. (“FTI”), be and hereby is, authorized,
directed, and empowered to represent and assist the Company as the Company’s financial advisor
and in carrying out the Company’s duties under the Bankruptcy Code, and to take any and all
actions to advance the Company’s rights and obligations; and in connection therewith, the
Authorized Persons be, and each of them, acting alone or in any combination, with power of
delegation, are hereby is authorized, directed, and empowered to execute appropriate retention
agreements, pay appropriate retainers, and to cause to be filed an appropriate application to retain
the services of FTI in the Bankruptcy Case; and it is further

                RESOLVED, that Epiq Corporate Restructuring, LLC (“Epiq”), be and hereby is,
authorized and empowered to represent and assist the Company as claims and noticing agent and
administrative advisor and in carrying out its duties under the Bankruptcy Code, and to take any
and all actions to advance the Company’s rights and obligations; and in connection therewith, the
Authorized Persons, with power of delegation, is hereby authorized and directed to execute
appropriate retention agreements, pay appropriate retainers, and to cause to be filed an appropriate
application for authority to retain the services of Epiq in the Bankruptcy Case; and it is further

               RESOLVED, that the Authorized Persons be, and each of them, acting alone or in
any combination, hereby is, authorized, directed, and empowered to employ any other
professionals to assist the Company in carrying out the Company’s duties under the Bankruptcy
Code, and to take any and all actions to advance the Company’s rights and obligations; and in
connection therewith, the Authorized Persons be, and each of them, acting alone or in any
combination, with power of delegation hereby is, with power of delegation, hereby is authorized
and directed to execute appropriate retention agreements, pay appropriate retainers, and to cause
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to be filed appropriate applications for authority to retain the services of any other professionals
as necessary; and it is further

               RESOLVED, that the Authorized Persons be, and each of them, acting alone or in
any combination, with power of delegation, hereby is authorized, empowered, and directed to
execute and file all petitions, schedules, motions, lists, applications, pleadings, and other papers
and, in connection therewith, to employ and retain all assistance by legal counsel and other
professionals and to take and perform any and all further acts and deeds that the Authorized
Persons deem necessary, proper or desirable in connection with the Bankruptcy Case, with a view
to the successful prosecution of such case; and it is further

               RESOLVED, that each of the aforementioned retained advisors of the Company is
hereby authorized to take any and all actions necessary or desirable to advance the Company’s
rights and obligations and facilitate the commencement of the Bankruptcy Case; and it is further

Cash Collateral

                 RESOLVED, that, in connection with the commencement of the Company’s
Bankruptcy Case, the Authorized Persons are authorized and directed, to the extent necessary, on
behalf of the Company, as debtor and debtor-in-possession, to negotiate, obtain, execute, deliver,
and guarantee the use of cash collateral according to the terms negotiated, or to be negotiated, by,
or on behalf of, the Company or otherwise approved by the Bankruptcy Court; and the Company
is hereby authorized and directed to take all actions necessary in connection therewith, including,
without limitation (i) the use of cash collateral in such amounts and on such terms as the
Authorized Persons deems necessary or advisable (collectively, the “Cash Collateral”), (ii) the
execution and delivery of any documents to evidence the permitted use of Cash Collateral, (iii) the
incurrence and payment of fees, (iv) the execution and delivery of real property and personal
property (including intellectual property) security agreements (and amendments, supplements, and
modifications thereto, as appropriate), (v) the granting of liens on and security interests in any and
all assets of the Company, (vi) the authorization of filing and recording, as applicable, of financing
statements, agreements, mortgages, or any other documents evidencing and perfecting such liens
or security interests and amendments to such financing statements, agreements, mortgages or other
documents, (vii) the acknowledgement of debt and liens of existing loans, (viii) payment of interest
to the Company’s existing lenders, and (ix) the execution and delivery of deposit, securities and
other account control agreements (and amendments, supplements and other modifications thereto,
as appropriate), and the Authorized Persons are hereby authorized and directed to execute any
appropriate agreements and related ancillary documents on behalf of the Company in connection
with the foregoing; and it is further

General

                 RESOLVED, that the Authorized Persons be, and hereby are, authorized, directed,
and empowered, on behalf of and in the name of the Company, to perform the obligations of such
Company under the Bankruptcy Code, with all such actions to be performed in such manner, and
all such certificates, instruments, guaranties, notices, and documents to be executed and delivered
in such form, as the Authorized Persons performing or executing the same shall approve, and the
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performance or execution thereof by the Authorized Persons shall be conclusive evidence of the
approval thereof by the Authorized Persons and by the Company; and it is further

                RESOLVED, that the Authorized Persons be, and hereby are, authorized, directed,
and empowered, in the name of and on behalf of the Company, to cause the Company to enter into,
execute, deliver, certify, file, record and perform under such agreements, instruments, motions,
affidavits, applications for approvals or rulings of governmental or regulatory authorities,
certificates or other documents, to pay all expenses, including filing fees, and to take such other
actions as in the judgment of the Authorized Persons, shall be necessary, proper, and desirable to
prosecute a successful completion of the Company’s Bankruptcy Case and to effectuate the
restructuring or liquidation of the Company’s debts, other obligations, organizational form and
structure and ownership of the Company, all consistent with the foregoing resolutions and to carry
out and put into effect the purposes of which the foregoing resolutions, and the transactions
contemplated by these resolutions, her authority thereunto to be evidenced by the taking of such
actions; and it is further

                 RESOLVED, that the Authorized Persons be, and hereby are, authorized, directed,
and empowered, on behalf of and in the name of the Company, to take such actions and execute
and deliver such documents as may be required or as the Authorized Persons may determine to be
necessary, appropriate, or desirable to carry out the intent and purpose of the foregoing resolutions
or to obtain the relief sought thereby, including, without limitation, the execution and delivery of
any consents, resolutions, petitions, schedules, lists, declarations, affidavits, and other papers or
documents, with all such actions to be taken in such manner, and all such petitions, schedules,
lists, declarations, affidavits, and other papers or documents to be executed and delivered in such
form as the Authorized Persons shall approve, the taking or execution thereof by the Authorized
Persons being conclusive evidence of the approval thereof by the Authorized Persons and the
Company; and it is further

                 RESOLVED, that all of the acts and transactions relating to matters contemplated
by the foregoing resolutions, which acts and transactions would have been authorized and
approved by the foregoing resolutions except that such acts and transactions were taken prior to
the adoption of these resolutions, be, and they hereby are, in all respects confirmed, approved, and
ratified; and it is further

                RESOLVED, that facsimile, photostatic, or other electronic copies of signatures to
this consent shall be deemed to be originals and may be relied on to the same extent as the originals.



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               IN WITNESS WHEREOF, the Manager Member has executed this written
consent effective as of the date first written above.



                                          MANAGER MEMBER

                                          MEDIAMATH, INC.



                                          /s/ Neil Nguyen                  (SEAL)
                                          Name: Neil Nguyen
                                          Title: Authorized Person
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                               SCHEDULE 1

•   Neil Nguyen

•   Ingrid Hackett
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       Fill in this information to Identify the case:

    Debtor Name: MEDIAMATH HOLDINGS, INC.
                                                                                                                                              Check if this is an
    United States Bankruptcy Court for the:             District of Delaware                                                                  amended filing
    Case Number (If known):




  Official Form 204
  Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30
  Largest Unsecured Claims and Are Not Insiders                              12/15
  A consolidated list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims
  which the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
  include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the
  holders of the 30 largest unsecured claims.


   Name of creditor and complete mailing        Name, telephone number,        Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code                  and email address of           (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                                creditor contact               debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                               professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                               services, and         or disputed     setoff to calculate unsecured claim.
                                                                               government
                                                                               contracts)
                                                                                                                     Total claim, if       Deduction          Unsecured
                                                                                                                     partially secured     for value of       claim
                                                                                                                                           collateral or
                                                                                                                                           setoff

   1       MAGNITE INC                          CONTACT: DAVID DAY             MEDIA COST                                                                        $12,585,259.99
           6080 CENTER DRIVE 4TH FLSUITE        PHONE: (212) 243-2769
           400                                  dday@magnite.com
           LOS ANGELES, CA 90045
   2       PUBMATIC INC                         CONTACT: STEVE PANTELICK       MEDIA COST                                                                        $10,479,620.09
           601 MARSHALL ST                      PHONE: (650) 331 3485
           REDWOOD CITY, CA 94063               billing@pubmatic.com

   3       SONOBI INC                           CONTACT: JOSEPH                MEDIA COST                                                                         $5,307,213.23
           444 W NEW ENGLAND AVE STE 220        CAPPARELLI
           WINTER PARK, FL 32789                PHONE: (386) 320-5400
                                                megan@sonobi.com
   4       XANDR INC APPNEXUS INC               CONTACT: LOUIS ORELLANA        MEDIA COST                                                                         $4,014,169.96
           28 WEST 23RD ST 4TH FL               louis.orellana@xandr.com
           NEW YORK, NY 10010
   5       ADSWIZZ                              CONTACT: MARIANA OPREA MEDIA COST                                                                                 $3,413,217.97
           489 S EL CAMINO REAL                 mariana.oprea@adswizz.com
           SAN MATEO, CA 94402
   6       SMART ADSERVER                       CONTACT: QUENTIN           MEDIA COST                                                                             $3,371,083.93
           66 RUE DE LA CHAUSSEE D ANTIN        MICHON
           PARIS 75009                          accounting@smartadserver.c
           FRANCE                               om
   7       TRIPLELIFT INC                       CONTACT: JOYCE LIU             MEDIA COST                                                                         $2,792,438.13
           53 W 23RD STREET FL 12               PHONE: (646) 392-8854
           NEW YORK, NY 10010                   invoices@triplelift.com




Official Form 204          Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims                                        Page 1
                                  Case 23-10883-LSS                  Doc 1       Filed 06/30/23               Page 27 of 38
  Debtor: MEDIAMATH HOLDINGS, INC.                                                              Case Number (if known):
   Name of creditor and complete mailing   Name, telephone number,      Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code             and email address of         (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                           creditor contact             debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                        professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                        services, and         or disputed     setoff to calculate unsecured claim.
                                                                        government
                                                                        contracts)
                                                                                                              Total claim, if       Deduction          Unsecured
                                                                                                              partially secured     for value of       claim
                                                                                                                                    collateral or
                                                                                                                                    setoff

   8    AZERION TECHNOLOGY BV              CONTACT: CHIEF FINANCIAL     MEDIA COST                                                                         $2,555,290.19
        FORMERLY IMPROVE DIGITAL           OFFICER
        INTERNATIONAL EURO                 PHONE: +31-207602040
        BOEING AVENUE 30 1119 PE           finance@improvedigital.com
        SCHIPOLRIJK 1119 PE
        NETHERLANDS
   9    4 WORLD TRADE CENTER LLC           CONTACT: KATIE P KURTZ       RENT                                                                               $2,511,572.86
        CO SILVERSTEIN PROPERTIES          PHONE: (212) 490-0666
        250 GREENWICH ST                   officebilling@silvprop.com
        NEW YORK, NY 01007
   10   LIVERAMP ACXIOM                    CONTACT: LAURA DILLARD       THIRD PARTY DATA                                                                   $2,297,556.89
        PO BOX 74007275                    acxiomuk_ar@acxiom.com
        CHICAGO, IL 606747275
   11   INDEX EXCHANGE INC                 CONTACT: NEIL DORKEN         MEDIA COST                                                                         $2,175,479.54
        74 WINGOLD AVE                     PHONE: +1-416-785-5908
        TORONTO, ONTARIO M6B 1P5           accounting@casalemedia.co
        CANADA                             m
   12   OPENX                              CONTACT: MARK LIAO           MEDIA COST                                                                         $1,910,582.52
        888 E WALNUT ST SECOND FLOOR       PHONE: (626) 466-1141
        PASADENA, CA 911011802             ar@openx.com
   13   GOOGLE INC MM                      CONTACT: CHIEF FINANCIAL     MEDIA COST                                                                         $1,691,699.43
        1600 AMPHITHEATRE PKWY             OFFICER
        MOUNTAIN VIEW, CA 94043            collections@google.com
   14   DOUBLEVERIFY                       CONTACT: NICOLA ALLAIS       AD VERIFICATION                                                                    $1,490,134.27
        462 BROADWAY                       PHONE: (646) 530-8660
        NEW YORK, NY 100132618             ar@doubleverify.com
   15   GUMGUM                             CONTACT: PATRICK GILDEA      MEDIA COST                                                                         $1,436,498.02
        1314 7TH STREET 4TH FL             patrick@gumgum.com
        SANTA MONICA, CA 90401
   16   UNRULY GROUP US HOLDING INC        CONTACT: CHIEF FINANCIAL     MEDIA COST                                                                         $1,379,280.71
        3600 136TH PLACE SE SUITE 400      OFFICER
        BELLEVUE, WA 98006                 mhod@nexxen.com
   17   MADHIVE INC                        CONTACT: TOM TIDGWELL        MEDIA COST                                                                         $1,290,559.85
        225 BROADWAY FLOOR 11              PHONE: (646) 727-4054
        NEW YORK, NY 10007                 finance@madhive.com
   18   ORACLE GRAPESHOT LIMITED           CONTACT: CHIEF FINANCIAL     THIRD PARTY DATA                                                                   $1,186,375.93
        ORACLE PARKWAY THAMES VALLEY       OFFICER
        PARK                               accounts@grapeshot.com
        READING, BERKSHIRE RG6 1RA
        UNITED KINGDOM
   19   PRESIDIO HOLDINGS INC              CONTACT: TIM AUBREY          IT SOFTWARE                                                                        $1,144,175.31
        PO BOX 677638                      taubrey@presidio.com
        DALLAS, TX 752677638
   20   YAHOO AD TECH JV LLC               CONTACT: CHIEF FINANCIAL MEDIA COST                                                                             $1,139,511.20
        VERIZON MEDIA INC                  OFFICER
        14010 FNB PARKWAY                  brenda.davenport@yahooinc
        OMAHA, NE 68154                    .com
   21   YIELDLAB                           CONTACT: TIMO GIEB        MEDIA COST                                                                            $1,136,708.97
        VIRTUAL MINDS GMBH                 P7S1AccountsReceivable@pr
        ELLENGOTTLIEBSTRABE                osieben.de
        FREIBURG IM BEISGAU 16 D79106
        GERMANY




Official Form 204      Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims                                     Page 2
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  Debtor: MEDIAMATH HOLDINGS, INC.                                                             Case Number (if known):
   Name of creditor and complete mailing   Name, telephone number,     Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code             and email address of        (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                           creditor contact            debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                       professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                       services, and         or disputed     setoff to calculate unsecured claim.
                                                                       government
                                                                       contracts)
                                                                                                             Total claim, if       Deduction          Unsecured
                                                                                                             partially secured     for value of       claim
                                                                                                                                   collateral or
                                                                                                                                   setoff

   22   EYEOTA PTE LTD                     CONTACT: KRISTINA PROKOP THIRD PARTY DATA                                                                      $1,097,126.07
        31 HONG KONG STREET 0301           mong@eyeota.com;
        SINGAPORE 59670                    singapore@eyeota.com
        SINGAPORE
   23   TMOBILE USA INC PUSHSPRING         CONTACT: CHIEF FINANCIAL    THIRD PARTY DATA                                                                   $1,054,780.11
        12920 SE 38TH STREET               OFFICER
        BELLEVUE, WA 980061350             PHONE: (425) 383-7066
                                           AR_DATA_AD@T-
                                           Mobile.com
   24   GRAVY ANALYTICS INC                CONTACT: MATT JACOBSON MEDIA COST                                                                                $884,895.98
        44679 ENDICOTT DRIVE SUITE 349     PHONE: (703) 840-8850
        ASHBURN, VA 20147                  accounting@gravyanalytics.c
                                           om
   25   GOOGLE AFFIPERF                    CONTACT: CHIEF FINANCIAL    MEDIA COST                                                                           $883,308.25
        GOOGLE IRELAND GORDON HOUSE        OFFICER
        BARROW STREET                      google-collections-
        DUBLIN D04 V4X7                    jkubisz@google.com;
        IRELAND                            collections@google.com;
                                           google-collections-
                                           celineageon@google.com
   26   FOURSQUARE LABS INC                CONTACT: MARC               THIRD PARTY DATA                                                                     $862,389.71
        FORMERLY FACTUAL INC               ELLENBOGEN
        50 WEST 23RD STREET 8TH FL         billing@foursquare.com
        NEW YORK, NY 10010
   27   ADCOLONY                           CONTACT: CHIEF FINANCIAL    MEDIA COST                                                                           $825,777.89
        OPERA MEDIAWORKS INC               OFFICER
        PO BOX 205518                      PHONE: (310) 775-8085
        DALLAS, TX 753205518               ar_collections-
                                           na@adcolony.com
   28   FREEWHEEL USD                 CONTACT: CHIEF FINANCIAL         MEDIA COST                                                                           $788,142.81
        ONE COMCAST CENTER 32ND FLOOR OFFICER
        PHILADELPHIA, PA 19103        EU-billing@freewheel.tv

   29   BIDSWITCH GMBH                     CONTACT: CHIEF FINANCIAL    MEDIA COST                                                                           $733,586.00
        387 PARK AVE S 12TH FL             OFFICER
        NEW YORK, NY 10016                 PHONE: (646) 410-0400
                                           arbidswitch@iponweb.net
   30   ORACLE AMERICA BLUE KAI INC        CONTACT: STEFFANIE TATE     THIRD PARTY DATA                                                                     $726,923.40
        500 ELDORADO BLVD BUILDING 1       steffanie.tate@oracle.com
        BROOMFIELD, CO 80021




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                                     IN THE UNITED STATES BANKRUPTCY COURT
                                          FOR THE DISTRICT OF DELAWARE

                                                                        )
             In re:                                                     )   Chapter 11
                                                                        )
             MEDIAMATH HOLDINGS, INC., et al., 1                        )   Case No. 23-______ (__)
                                                                        )
                                                                        )   (Joint Administration Requested)
                                       Debtors.                         )
                                                                        )

                           CONSOLIDATED CORPORATE OWNERSHIP STATEMENT
                            AND LIST OF EQUITY INTEREST HOLDERS PURSUANT
                             TO FED. R. BANKR. P. 1007(a)(1), 1007(a)(3), AND 7007.1

                Pursuant to rules 1007(a)(1), 1007(a)(3) and 7007.1 of the Federal Rules of Bankruptcy
         Procedure, MediaMath Holdings, Inc. and its affiliated debtors and debtors in possession in the
         above-captioned cases (each, a “Debtor” and, collectively, the “Debtors”) hereby state as follows:

                      1.    The following Debtors are 100% owned by Debtor MediaMath, Inc.:

                                 •    Adroit DS, LLC

                                 •    MediaMath Ventures, LLC

                      2.    MediaMath, Inc. is 100% owned by Debtor MediaMath Holdings, Inc.

                      3.    MediaMath Holdings, Inc. is 100% owned by Debtor Searchlight MM Holdings,

         LLC.

                      4.    Searchlight MM Holdings, LLC is 100% owned by Debtor Searchlight MM Topco,

         L.P.

                      5.    Searchlight MM Topco GP is the non-economic general partner interest in, and sole

         general partner of, Debtor Searchlight MM Topco, L.P.



         1
               The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are:
               MediaMath Holdings, Inc. (2425), MediaMath, Inc. (1297), MediaMath Ventures, LLC (4588), Adroit DS, LLC
               (0700), Searchlight MM Topco, L.P. (9412), Searchlight MM Topco GP, LLC (2453), and Searchlight MM
               Holdings, LLC (5372). The Debtors’ address is MediaMath, Inc., c/o Epiq Corporate Restructuring, LLC, P.O.
               Box 4420, Beaverton, Oregon 97076-4420.
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                  6.        Searchlight MM Topco, L.P. is owned by a number of shareholders, as set forth

         below:

                                             Class A-1 Common Interests

         Name of Equity Interest Holder                             Address                  Approximate Number
                                                                                               of Interests Held



    Searchlight CST, L.P.                     745 Fifth Avenue,                                   92,314.7011
                                              26th Floor
                                              New York, NY 10151
    Spring Lake Equity Partners LLC           Spring Lake Equity Partners LLC                     1,211.3728
                                              c/o Spring Lake Equity Management LLC
                                              125 High Street, Suite 2211 Boston, MA 02110
    Spring Lake/MM Co-Investment III LLC      Spring Lake/MM Co-Investment III LLC                4,050.2972
                                              c/o Spring Lake Equity Management LLC
                                              125 High Street, Suite 2211 Boston, MA 02110
    Observatory Capital (MM), LLC             5425 Wisconsin Ave                                  2,034.6034
                                              Suite 704
                                              Chevy Chase, MD 20815
    Stelvio LLC                               311 Cameron Street                                   389.0255
                                              Alexandria, VA 22314



                                             Class A-2 Common Interests

         Name of Equity Interest Holder                             Address                  Approximate Number
                                                                                               of Interests Held



    Goldman Sachs                             2001 Ross Avenue                                       5,495
                                              Dallas, Texas 75201




                                             Class A-3 Common Interests

         Name of Equity Interest Holder                             Address                  Approximate Number
                                                                                               of Interests Held



    Goldman Sachs                             2001 Ross Avenue                                       6,740
                                              Dallas, Texas 75201




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                                           Class A-4 Common Interests

         Name of Equity Interest Holder                         Address                   Approximate Number
                                                                                            of Interests Held



    Spring Lake Equity Partners LLC        Spring Lake Equity Partners LLC                     559.6403
                                           c/o Spring Lake Equity Management LLC
                                           125 High Street, Suite 2211 Boston, MA 02110
    Spring Lake/MM Co-Investment III LLC   Spring Lake/MM Co-Investment III LLC                1,871.1906
                                           c/o Spring Lake Equity Management LLC
                                           125 High Street, Suite 2211 Boston, MA 02110
    Observatory Capital (MM), LLC          5425 Wisconsin Ave                                  939.9633
                                           Suite 704
                                           Chevy Chase, MD 20815
    Stelvio LLC                            311 Cameron Street                                  179.7253
                                           Alexandria, VA 22314



                                           Class A-5 Common Interests

         Name of Equity Interest Holder                         Address                   Approximate Number
                                                                                            of Interests Held


    Joseph Zawadzki                        [Address Redacted]                                  1,662.4323

    Zawadzki Enterprises, LLC              235 West 71st Street                                174.9872
                                           Apartment 1C
                                           New York, NY 10023
    Zawadzki No. 1, LLC                    235 West 71st Street                                147.9000
                                           Apartment 1C
                                           New York, NY 10023
    2011 Family Trust (Zawadzki 2011       Grantor Retained Annuity Trust)                     708.3544
    Grantor Retained Annuity Trust)        235 West 71st Street
                                           Apartment 1C
                                           New York, NY 10023
    Occams Razor, LLC                      235 West 71st Street                                 2.2055
                                           Apartment 1C
                                           New York, NY 10023




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                                          Class A-6 Common Interests

         Name of Equity Interest Holder                        Address                   Approximate Number
                                                                                           of Interests Held



    Spring Lake Equity Partners LLC       Spring Lake Equity Partners LLC                     3,777.3341
                                          c/o Spring Lake Equity Management LLC
                                          125 High Street, Suite 2211 Boston, MA 02110
    Spring Lake/MM Co-Investment LLC      Spring Lake/MM Co-Investment LLC                    5,666.0028
                                          c/o Spring Lake Equity Management LLC
                                          125 High Street, Suite 2211 Boston, MA 02110
    Observatory Capital (MM), LLC         5425 Wisconsin Ave                                   125.2543
                                          Suite 704
                                          Chevy Chase, MD 20815
    Observatory Capital (MM)-C LLC        5425 Wisconsin Ave                                   298.2103
                                          Suite 704
                                          Chevy Chase, MD 20815



                                          Class A-7 Common Interests

         Name of Equity Interest Holder                        Address                   Approximate Number
                                                                                           of Interests Held



    Joseph Zawadzki                       [Address Redacted]                                  5,401.7143

    Zawadzki Enterprises, LLC             235 West 71st Street                                568.5832
                                          Apartment 1C
                                          New York, NY 10023
    Zawadzki No. 1, LLC                   235 West 71st Street                                480.5692
                                          Apartment 1C
                                          New York, NY 10023
    2011 Family Trust (Zawadzki 2011      Grantor Retained Annuity Trust)                     2,301.6445
    Grantor Retained Annuity Trust)       235 West 71st Street
                                          Apartment 1C
                                          New York, NY 10023
    Occams Razor, LLC                     235 West 71st Street                                 7.1664
                                          Apartment 1C
                                          New York, NY 10023




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                                          Class B-1 Incentive Interests

         Name of Equity Interest Holder                         Address               Approximate Number
                                                                                        of Interests Held

    Joseph Zawadzki                        [Address Redacted]                              329.6703

    Andrew Ellenthal                       [Address Redacted]                                 352

    Kimberly Samon                         [Address Redacted]                                 215

    Anudit Vikram                          [Address Redacted]                                 198

    Ashish Shukla                          [Address Redacted]                                 198

    Ingrid N. Hackett                      [Address Redacted]                                 99

    Magdalen A. Stockdale                  [Address Redacted]                                 22

    Taylor C. Simons                       [Address Redacted]                                 66

    Gabriel Paton                          [Address Redacted]                                 22

    Guillermo Abud Lameran                 [Address Redacted]                                 22

    Marcus Yang                            [Address Redacted]                                 22

    Todd Palatnek                          [Address Redacted]                                 4

    Mary Matyas                            [Address Redacted]                                 44

    Jill Rockwitz                          [Address Redacted]                                 22

    Sachin Shah                            [Address Redacted]                                 22

    Jared Lansky                           [Address Redacted]                                 55

    Carol A. Renzo                         [Address Redacted]                                 22

    Melissa Schwartzman                    [Address Redacted]                                 22

    Olga Sadykova                          [Address Redacted]                                 22

    Jing V. Li                             [Address Redacted]                                 55

    Emera Trujillo                         [Address Redacted]                                 55

    Geoffrey King                          [Address Redacted]                                 57

    Michael W. Plate                       [Address Redacted]                                 44

    Utshob Alam                            [Address Redacted]                                 26

    Sanjaya K. Rajapatirana                [Address Redacted]                                 53

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         Name of Equity Interest Holder                         Address               Approximate Number
                                                                                        of Interests Held

    Michael J. Lamb                        [Address Redacted]                                 44

    Ferdinand M. David                     [Address Redacted]                                 26

    Viktor D. Zawadzki                     [Address Redacted]                                 55

    Carl Millikin                          [Address Redacted]                                 22

    Frederic Lutt                          [Address Redacted]                                 22

    William Jones                          [Address Redacted]                                 22

    Daniel R. Bougourd                     [Address Redacted]                                 26

    Sylvain LeBorgne                       [Address Redacted]                                 198

    Christopher Keenan                     [Address Redacted]                                 22

    Christine Napoli                       [Address Redacted]                                 198

    Daniel Weiss                           [Address Redacted]                                 44

    Dean Glasenberg                        [Address Redacted]                                 22

    Emmanuel Puentes                       [Address Redacted]                                 198

    Elliot Reeve                           [Address Redacted]                                 44

    Shane Harnby                           [Address Redacted]                                 22

    Neil Nguyen                            [Address Redacted]                                1,318




                                          Class B-2 Incentive Interests

         Name of Equity Interest Holder                         Address               Approximate Number
                                                                                        of Interests Held

    Joseph Zawadzki                        [Address Redacted]                              388.3551

    Andrew Ellenthal                       [Address Redacted]                                 414

    Kimberly Samon                         [Address Redacted]                                 254

    Anudit Vikram                          [Address Redacted]                                 233

    Ashish Shukla                          [Address Redacted]                                 233

    Ingrid N. Hackett                      [Address Redacted]                                 117


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    Magdalen A. Stockdale               [Address Redacted]                              26

    Taylor C. Simons                    [Address Redacted]                              78

    Gabriel Paton                       [Address Redacted]                              26

    Guillermo Abud Lameran              [Address Redacted]                              26

    Marcus Yang                         [Address Redacted]                              26

    Todd Palatnek                       [Address Redacted]                              5

    Mary Matyas                         [Address Redacted]                              52

    Jill Rockwitz                       [Address Redacted]                              26

    Sachin Shah                         [Address Redacted]                              26

    Jared Lansky                        [Address Redacted]                              65

    Carol A. Renzo                      [Address Redacted]                              26

    Melissa Schwartzman                 [Address Redacted]                              26

    Olga Sadykova                       [Address Redacted]                              26

    Jing V. Li                          [Address Redacted]                              65

    Emera Trujillo                      [Address Redacted]                              65

    Geoffrey King                       [Address Redacted]                              67

    Michael W. Plate                    [Address Redacted]                              52

    Utshob Alam                         [Address Redacted]                              31

    Sanjaya K. Rajapatirana             [Address Redacted]                              62

    Michael J. Lamb                     [Address Redacted]                              52

    Ferdinand M. David                  [Address Redacted]                              31

    Viktor D. Zawadzki                  [Address Redacted]                              65

    Carl Millikin                       [Address Redacted]                              26

    Frederic Lutt                       [Address Redacted]                              26

    William Jones                       [Address Redacted]                              26

    Daniel R. Bougourd                  [Address Redacted]                              31

    Sylvain LeBorgne                    [Address Redacted]                              233


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    Christopher Keenan                     [Address Redacted]                                 26

    Christine Napoli                       [Address Redacted]                                 233

    Daniel Weiss                           [Address Redacted]                                 52

    Dean Glasenberg                        [Address Redacted]                                 26

    Emmanuel Puentes                       [Address Redacted]                                 233

    Elliot Reeve                           [Address Redacted]                                 52

    Shane Harnby                           [Address Redacted]                                 26

    Neil Nguyen                            [Address Redacted]                                1,553




                                          Class B-3 Incentive Interests

         Name of Equity Interest Holder                         Address               Approximate Number
                                                                                        of Interests Held

    Joseph Zawadzki                        [Address Redacted]                              505.4774

    Andrew Ellenthal                       [Address Redacted]                                 539

    Kimberly Samon                         [Address Redacted]                                 330

    Anudit Vikram                          [Address Redacted]                                 303

    Ashish Shukla                          [Address Redacted]                                 303

    Ingrid N. Hackett                      [Address Redacted]                                 152

    Magdalen A. Stockdale                  [Address Redacted]                                 34

    Taylor C. Simons                       [Address Redacted]                                 101

    Gabriel Paton                          [Address Redacted]                                 34

    Guillermo Abud Lameran                 [Address Redacted]                                 34

    Marcus Yang                            [Address Redacted]                                 34

    Todd Palatnek                          [Address Redacted]                                 7

    Mary Matyas                            [Address Redacted]                                 67

    Jill Rockwitz                          [Address Redacted]                                 34

    Sachin Shah                            [Address Redacted]                                 34



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         Name of Equity Interest Holder                        Address               Approximate Number
                                                                                       of Interests Held

    Jared Lansky                          [Address Redacted]                                 84

    Carol A. Renzo                        [Address Redacted]                                 34

    Melissa Schwartzman                   [Address Redacted]                                 34

    Olga Sadykova                         [Address Redacted]                                 34

    Jing V. Li                            [Address Redacted]                                 84

    Emera Trujillo                        [Address Redacted]                                 84

    Geoffrey King                         [Address Redacted]                                 88

    Michael W. Plate                      [Address Redacted]                                 67

    Utshob Alam                           [Address Redacted]                                 40

    Sanjaya K. Rajapatirana               [Address Redacted]                                 81

    Michael J. Lamb                       [Address Redacted]                                 67

    Ferdinand M. David                    [Address Redacted]                                 40

    Viktor D. Zawadzki                    [Address Redacted]                                 84

    Carl Millikin                         [Address Redacted]                                 34

    Frederic Lutt                         [Address Redacted]                                 34

    William Jones                         [Address Redacted]                                 34

    Daniel R. Bougourd                    [Address Redacted]                                 40

    Sylvain LeBorgne                      [Address Redacted]                                 303

    Christopher Keenan                    [Address Redacted]                                 34

    Christine Napoli                      [Address Redacted]                                 303

    Daniel Weiss                          [Address Redacted]                                 67

    Dean Glasenberg                       [Address Redacted]                                 34

    Emmanuel Puentes                      [Address Redacted]                                 303

    Elliot Reeve                          [Address Redacted]                                 67

    Shane Harnby                          [Address Redacted]                                 34

    Neil Nguyen                           [Address Redacted]                                2,021

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       Fill in this information to identify the case and this filing:

     Debtor Name MediaMath, Inc.

     United States Bankruptcy Court for the:                 District of Delaware
                                                                                                             (State)
     Case number (If known):



   Official Form 202
   Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                         12/15

    An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
    submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
    the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
    debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

    WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
    by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
    U.S.C. §§ 152, 1341, 1519, and 3571.


                 Declaration and signature

              I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
              partnership; or another individual serving as a representative of the debtor in this case.

              I have examined the information in the documents checked below and I have a reasonable belief that the information is true
              and correct:

          ☐     Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
          ☐     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
          ☐     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
          ☐     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
          ☐     Schedule H: Codebtors (Official Form 206H)
          ☐     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
          ☐     Amended Schedule ____
          ☒     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders
                (Official Form 204)
          ☒     Other document that requires a declaration Corporate Ownership Statement and List of Equity Security Holders
        I declare under penalty of perjury that the foregoing is true and correct.

             Executed on      06/30/2023                          X /s/ Neil Nguyen
                                                                    Signature of individual signing on behalf of debtor

                                                                        Neil Nguyen
                                                                        Printed name

                                                                        Chief Executive Officer
                                                                        Position or relationship to debtor




        US-DOCS\139889070.4
        US-DOCS\143127411.3
30499248.1
   Official Form 202                            Declaration Under Penalty of Perjury for Non-Individual Debtors
